                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

 UNITED STATES OF AMERICA                            )
                                                     )       Case No. 4:06-cr-4
 vs.                                                 )
                                                     )       JUDGE COLLIER
 ERIC KINSLOW                                        )



                                MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on April 19, 2013, in
 accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for
 Warrant for Offender Under Supervision (Petition) of U.S. Probation Officer Elizabeth Miller
 and the Warrant for Arrest issued by U.S. District Judge Curtis L. Collier. Those present for the
 hearing included:

               (1) AUSA Scott Winne for the USA.
               (2) Defendant ERIC KINSLOW.
               (3) Attorney Myrlene Marsa for defendant.
               (4) Deputy Clerk Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

         It was determined the defendant wished to be represented by an attorney and he qualified
 for the appointment of an attorney to represent him at government expense. Federal Defender
 Services of Eastern Tennessee, Inc. was APPOINTED to represent the defendant. It was
 determined the defendant had been provided with a copy of the Petition and the Warrant for
 Arrest and had the opportunity of reviewing those documents with his attorney. It was also
 determined the defendant was capable of being able to read and understand the copy of the
 aforesaid documents he had been provided.

        Defendant waived his right to a preliminary hearing but requested a detention hearing.

        AUSA Winne called USPO Beth Miller as a witness and moved that the defendant be
 detained pending the revocation hearing.

                                             Findings

        (1) Based upon USPO Millers’ testimony, the undersigned finds there is probable

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Case 4:06-cr-00004-CLC-SKL          Document 466         Filed 04/19/13    Page 1 of 2     PageID
                                          #: 652
      cause to believe defendant has committed violations of his conditions of supervised
      release as alleged or set forth in the Petition.

      (2) The defendant has not carried his burden under Rule 32.1(a)(6) of the Federal
      Rules of Criminal Procedure, that if released on bail he will not flee or will not pose
      a danger to the community.

                                          Conclusions

      It is ORDERED:

      (1) The motion of AUSA Winne that the defendant be DETAINED WITHOUT
      BAIL pending the revocation hearing before U.S. District Judge Curtis L. Collier is
      GRANTED.

      (2) The U.S. Marshal shall transport defendant to a revocation hearing before
      Judge Collier on Thursday, May 23, 2013, at 9:00 am.

      ENTER.

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                                             UNITED STATES MAGISTRATE JUDGE




                                                2



Case 4:06-cr-00004-CLC-SKL         Document 466         Filed 04/19/13      Page 2 of 2         PageID
                                         #: 653
